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                     PETER MALONE STATEMENT OF FACTS


1. I,                           , am a Special Agent with the Federal Bureau of Investigation
   (FBI) and have been for over one year. Prior to my employment as a Special Agent, I
   operated as a police officer with the Franklin Park (Pennsylvania) Police Department and
   the University of Pittsburgh Police Department for over eight years. I am currently
   assigned to the FBI’s Cleveland Division, Painesville Resident Agency. I have used a
   variety of investigative techniques, including, but not limited to, wiretaps, interviews of
   witnesses, subjects and confidential informants, physical surveillance, reviews of
   telephone and financial records, reviews of electronic mail (E-mail) records, and execution
   of search warrants of physical premises, electronic devices, and social media accounts. As
   a Special Agent, I am authorized by law or by a Government agency to engage in the
   prevention, investigation, or prosecution of a violation of Federal criminal laws.

2. The facts in this affidavit come from my review of the evidence, my personal observations,
   my training and experience, and information obtained from other law enforcement officers
   and witnesses. Except as explicitly set forth below, I have not distinguished in this affidavit
   between facts of which I have personal knowledge and facts of which I have hearsay
   knowledge. This affidavit is intended to show simply that there is sufficient probable cause
   for the requested warrant and does not set forth all of my knowledge about this matter.

3. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
   U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
   Capitol Police. Only authorized people with appropriate identification were allowed access
   inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
   closed to members of the public.

4. On January 6, 2021, a joint session of the United States Congress convened at the United
   States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
   session, elected members of the United States House of Representatives and the United
   States Senate were meeting in separate chambers of the United States Capitol to certify the
   vote count of the Electoral College of the 2020 Presidential Election, which had taken place
   on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly
   thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate
   chambers to resolve a particular objection. Vice President Mike Pence was present and
   presiding, first in the joint session, and then in the Senate chamber.

5. As the proceedings continued in both the House and the Senate, and with Vice President
   Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
   Capitol. As noted above, temporary and permanent barricades were in place around the
   exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting
   to keep the crowd away from the Capitol building and the proceedings underway inside.

6. At such time, the certification proceedings were still underway and the exterior doors and
   windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
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   Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
   however, shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S.
   Capitol, including by breaking windows and by assaulting members of the U.S. Capitol
   Police, as others in the crowd encouraged and assisted those acts.

7. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
   Representatives and United States Senate, including the President of the Senate, Vice
   President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly,
   the joint session of the United States Congress was effectively suspended until shortly after
   8:00 p.m. Vice President Pence remained in the United States Capitol from the time he was
   evacuated from the Senate Chamber until the sessions resumed.

8. During national news coverage of the aforementioned events, video footage which
   appeared to be captured on mobile devices of persons present on the scene depicted
   evidence of violations of local and federal law, including scores of individuals inside the
   U.S. Capitol building without authority to be there.

                        IDENTIFICATION OF PETER MALONE

9. According to records obtained through a search warrant served on Google, a mobile device
   associated with Google account ID number 759603942XXX, account name: PETER
   MALONE (Date of Birth 11/XX/1957), account email: XXXXmalone@gmail.com, was
   present at the U.S. Capitol on January 6, 2021. Google estimates device location using
   sources including GPS data and information about nearby Wi-Fi access points and
   Bluetooth beacons. This location data varies in its accuracy, depending on the source(s) of
   the data. As a result, Google assigns a “maps display radius” for each location data point.
   Thus, where Google estimates that its location data is accurate to within 10 meters, Google
   assigns a “maps display radius” of 10 meters to the location data point. Finally, Google
   reports that its “maps display radius” reflects the actual location of the covered device
   approximately 68% of the time. Google location data showed this specific device was
   within the U.S. Capitol, to include, but not limited to, the Rotunda and Senate Chambers
   areas, on January 6, 2021 from approximately 2:35 p.m. Eastern Standard Time (EST) to
   2:49 p.m. EST. On January 6, 2021, PETER MALONE was the subscriber of the email
   address XXXXmalone@gmail.com.


10. On or about August 20, 2021, MALONE came to the FBI-Cleveland Field Office and met
    with FBI Agents. MALONE reviewed images taken from U.S. Capitol CCTV footage --
    Images 7 and 9 below. MALONE positively identified himself in the images and indicated
    this identification by signing and dating the back of each image.

11. In addition, MALONE turned over to the FBI the black and blue plaid jacket he was
    wearing inside the U.S. Capitol on January 6, 2021.

12. MALONE also signed a consent form authorizing the FBI to image photographs and videos
    taken by MALONE during his trip to Washington, D.C. on or about January 6, 2021, from
    his cellular phone. Approximately twelve (12) photographs and twenty (20) videos were
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   imaged from MALONE’s cellular phone. Those videos and photographs depict the area in
   and around the U.S. Capitol on January 6, 2021, including photographs of MALONE in
   the Capitol building.


                    MALONE’s CONDUCT ON JANUARY 6, 2021

13. Your affiant reviewed both open-source media and CCTV video footage of the events that
    took place in the U.S. Capitol on January 6, 2021.

14. In the morning of January 6, 2021, MALONE attended the former President’s rally on the
    National Mall in Washington, D.C. MALONE stood in the crowd near the Washington
    Monument, then marched towards the Capitol Building. MALONE was wearing a blue
    and black plaid jacket, dark colored pants, black colored Carhartt beanie, and a black
    colored backpack while carrying an American flag with “TRUMP, Making America Great
    Again,” inscribed on it. Images 1 to 4.




                                         Image 1
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                             Image 2




                             Image 3
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15. MALONE was present on the Upper West Terrace and can be seen utilizing his cellular
    device to record photos and/or videos. Image 4.




                                       Image 4

16. U.S Capitol CCTV footage from January 6, 2021, shows MALONE entered the Capitol
    building through the Upper West Terrace door at approximately 2:35 p.m., within two
    minutes of that door first being breached. Image 5.




                                       Image 5

17. At approximately 2:38 p.m., MALONE stood in the Rotunda of the Capitol Building
    raising a flag. Image 6.
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                                        Image 6

18. At approximately 2:41 p.m., MALONE ascended the Gallery Stairs from the 2nd floor to
    the 3rd floor of the Capitol Building. Image 7.




                                        Image 7

19. At approximately 2:48 p.m., MALONE walked through the area outside the Senate Gallery
    while using his cell phone. Image 8.
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                                         Image 8


20. At approximately 2:50 p.m., MALONE exited the Capitol Building via the Senate Carriage
    Door on the North Side of the Capitol Building. Image 9 to Image 12.




                   Image 9                                       Image 10
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                    Image 11                                         Image 12



21. MALONE’s total time inside the U.S. Capitol building on January 6, 2021, was
    approximately fifteen minutes.

22. Based on my training and experience and the facts as set forth in this statement of facts,
    there is probable cause to believe that PETER MALONE violated Title 18, United States
    Code, Section 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
    in any restricted building or grounds without lawful authority to do; (2) knowingly, and
    with intent to impede or disrupt the orderly conduct of Government business or official
    functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
    restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts
    the orderly conduct of Government business or official functions. For purposes of Section
    1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
    restricted area of a building or grounds where the President or other person protected by
    the Secret Service, including the Vice President, is or will be temporarily visiting, or any
    building or grounds so restricted in conjunction with an event designated as a special event
    of national significance.

23. Your affiant submits there is also probable cause to believe that PETER MALONE violated
    40 U.S.C. § 5104(e)(2) (D) and (G), which makes it a crime to willfully and knowingly (D)
    utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct,
    at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
    disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress,
    or the orderly conduct in that building of a hearing before, or any deliberations of, a
    committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket
    in any of the Capitol Buildings.
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                                                    Federal Bureau of Investigation



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of May 2024.                               Zia M.
                                                                   Faruqui
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
